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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IRON MAIDEN HOLDINGS LTD.,

       Plaintiff,
                                                            Case No.: 1:18-cv-1098
v.
                                                            Judge Jorge L. Alonso
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,                    Magistrate Judge Michael T. Mason

       Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

 Dismissal, without prejudice, as to Defendant No. 118 identified on Schedule A.

 DATED: April 4, 2018                                Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                     ATTORNEY FOR PLAINTIFF



                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above and foregoing
 document was electronically filed on April 4, 2018 with the Clerk of the Court using the
 CM/ECF system, which will automatically send an email notification of such filing to all
 registered attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq.
